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In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

*********************
LISA APPLEGATE,                          *
                                         *          No. 16-379V
                    Petitioner,          *          Special Master Christian J. Moran
                                         *
v.                                       *
                                         *
SECRETARY OF HEALTH                      *          Filed: April 24, 2017
AND HUMAN SERVICES,                      *          Attorneys’ fees and costs
                                         *
                    Respondent.          *
* * * * * * * * * * * * * * * * * * * * **

Jeffrey S. Pop, Jeffrey S. Pop, Attorney at Law, Beverly Hills, CA, for petitioner;
Amy P. Kokot, United States Dep’t of Justice, Washington, DC, for respondent.

              UNPUBLISHED DECISION ON FEES AND COSTS1

       On April 9, 2017, petitioner moved for final attorneys’ fees and costs in the
above-captioned matter. Upon review of petitioner’s application, respondent
raised no objections to the attorneys’ fees sought. Resp’t’s Resp., filed April 21,
2017, at 1.

       On March 24, 2016, Lisa Applegate filed a petition for compensation
alleging that the tetanus-diphtheria-acellular pertussis (“TDaP”) vaccine, which she
received on May 5, 2014, caused her to suffer Guillain-Barre Syndrome (“GBS”)
and Bell’s Palsy. The undersigned issued a decision awarding compensation to
petitioner based on the parties’ joint stipulation. Decision, issued Feb. 16, 2017,
2017 WL 972105.


1
  The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services), requires that the Court post this decision on its website.
Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing redaction of
medical information or other information described in 42 U.S.C. § 300aa-12(d)(4). Any
redactions ordered by the special master will appear in the document posted on the website.
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       Because petitioner received compensation, petitioner is entitled to an award
of attorneys’ fees and costs. 42 U.S.C. § 300aa-15(e). Petitioner seeks a total of
$18,065.36 in attorneys’ fees and costs. In compliance with General Order No. 9,
petitioner states that she advanced no monies for reimbursable costs in pursuit of
his claim.

       After reviewing the request, the Court awards the following:

       A lump sum of $18,065.36 in the form of a check made payable to
       petitioner and petitioner’s attorney, Jeffrey S. Pop, of Jeffrey S.
       Pop, Attorney at Law, for attorneys’ fees and other litigation costs
       available under 42 U.S.C. § 300aa-15(e).

In the absence of a motion for review filed pursuant to RCFC Appendix B, the
clerk of the court shall enter judgment in accordance herewith.2

       IT IS SO ORDERED.

                                                    s/Christian J. Moran
                                                    Christian J. Moran
                                                    Special Master




2
 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing
of notice renouncing the right to seek review.

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